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 4   Attorneys for Defendant
     CHI KEUNG HUI
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 9                     IN THE DISTRICT COURT OF THE UNITED STATES

10                       FOR THE NORTHERN DISTRICT OF CALIFORNIA

11                                   SACRAMENTO DIVISION

12

13   UNITED STATES OF AMERICA,                        No. 08-CR-0064

14                  Plaintiff,                        STIPULATION AND ORDER TO
                                                      CONTINUE
15   vs.                                              STATUS CONFERENCE

16   CHI KEUNG HUI,

17                  Defendant.

18                                         /

19                  It is hereby stipulated by and between the parties of record that the status

20   conference in the above-referenced matter should be continued from October 13, 2011

21   to November 10, 2011 at 9:00 a.m. It is further stipulated that there is good cause for

22   said continuance to accommodate conflicts arising from counsels’ personal and trial

23   schedules, to consult with immigration counsel, and for defense preparation, research

24   and continuity of counsel pursuant to 18 U.S.C.§ 3161 (h)(7)(A) and (B)(iv) under Local

25   Rule T4.

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 1   Dated: October 11, 2011

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 3                                                    /s/ Ted W. Cassman
                                              TED W. CASSMAN,
 4                                            Attorney for Defendant
                                              CHI KEUNG HUI
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 6
     Dated: October 11, 2011
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                                                        /s/ Michael Beckwith
 9                                            MICHAEL BECKWITH,
                                              Assistant United States Attorney
10

11                                           ORDER

12                For the reasons stated above, the status conference in this matter,

13   currently set for October 13, 2011, is continued to November 10, 2011 at 9:00 a.m.; and

14   the time beginning, October 13, 2011, and extending through November 10, 2011, is

15   excluded from the calculation of time under the Speedy Trial Act for effective defense

16   preparation, research and continuity of counsel. The Court finds that interests of justice

17   served by granting this continuance outweigh the best interests of the public and the

18   defendants in a speedy trial. 18 U.S.C.§ 3161 (h)(7)(A) and (B)(iv).

19   IT IS SO ORDERED.

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      Dated: October 14, 2011
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                                              MORRISON C. ENGLAND, JR.
23                                            UNITED STATES DISTRICT JUDGE

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